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              IN THE UNITED STATES DISTRICT COURT FOR
                                                                      (] P ■' i /; n ■
                  THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION




UNITED STATES OF AMERICA,

V.                                             Case No.   CR418-258


TIMOTHY LEE LANIGAN,

                  Defendant.




UNITED STATES OF AMERICA,

V.                                             Case No.   CR419-069


GILBERT BASALDUA, ET AL,

                  Defendants



UNITED STATES OF AMERICA,

V.                                             Case No.   CR419-113


PAMELA BRADLEY,

                  Defendant.



UNITED STATES OF AMERICA,

V.                                             Case No.   CR419-152


EUGENE BRONN,


                  Defendant




                                   ORDER


      Steven H. Lee, counsel of record for the United States of
   Case 4:19-cr-00069-WTM-CLR Document 127 Filed 10/10/19 Page 2 of 2



America in the above-styled cases, has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and       trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     SO ORDERED this /&SZ^day of October 2019.



                                  HONORABLE WILLIAM C?. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
